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 1
 2                              UNITED STATES DISTRICT COURT
 3                                     DISTRICT OF NEVADA
 4
     MICHAEL TROY MOORE,
 5                                                          Case No.: 2:20-cv-01911-RFB-NJK
            Plaintiff,
 6                                                                        ORDER
     v.
 7                                                                    [Docket No. 11]
     UNITED FOOD AND COMMERCIAL
 8   WORKERS 8 GOLDEN STATE, et al.,
 9          Defendants.
10         Pending before the Court is Plaintiff’s motion to declare that he has been granted leave to
11 proceed in forma pauperis in this case. Docket No. 11. The motion is properly resolved without
12 a hearing. See Local Rule 78-1.
13         On December 7, 2020, the Court granted Plaintiff’s application to proceed in forma
14 pauperis. Docket No. 7. The Court therefore GRANTS Plaintiff’s motion. Docket No. 11.
15 Further, the Court AMENDS its order at Docket No. 10 as follows: No later than April 6, 2021,
16 Plaintiff shall file an Amended Complaint, if the noted deficiencies can be corrected. If Plaintiff
17 chooses to amend the complaint, Plaintiff is informed that the Court cannot refer to a prior pleading
18 (i.e., the original Complaint) in order to make the Amended Complaint complete. This is because,
19 as a general rule, an Amended Complaint supersedes the original Complaint. Local Rule 15-1(a)
20 requires that an Amended Complaint be complete in itself without reference to any prior pleading.
21 Once a plaintiff files an Amended Complaint, the original Complaint no longer serves any function
22 in the case. Therefore, in an Amended Complaint, as in an original Complaint, each claim and the
23 involvement of each Defendant must be sufficiently alleged. Failure to comply with this order
24 will result in a recommendation that this case be dismissed.
25         IT IS SO ORDERED.
26         Dated: February 25, 2021
27                                                               ______________________________
                                                                 Nancy J. Koppe
28                                                               United States Magistrate Judge

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